 

|N THE UN|TED STATES DlSTRICT COURT

FoR THE MIDDLE DlsTRlcT oF TENNEssEE dry
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) *l_.‘"»"`," j_..‘:`
(Name) ) (List the names of all the plaintiffs filing
) this lawsuit. Do not use ”et al.” Attach
(Prison !d,, No.) ) additional sheets if necessary.'}
,.'., )
)
(Name) )
) Civi| Action No.
(Prison ld. No.) ) (To be assigned by the Clerk's Office.
) Do not write in this space.)
Plaintiff(s) )
)
v. ) .IURY TRiAL REQUESTED ___YES ____NO
)
1 ) (List the names of all defendants
(Name) ) against whom you are filing this
‘ ) lawsuit. Do you use ”et al.” Attach
(Name) ) additional sheets if necessary.)
)
Defendant(s) )
CO|V|PLA|NT FOR VlOLATlON OF ClVlL RIGHTS FILED
PURSUANT TO 42 U.S.C. § 1983
|. PARTIES TO TH|S LAWSU|T

A. Plaintiff(s) bringing this lawsuit

1e Name of the first piaintiff: `:1" ~ ' ' '~ ‘ 1 ‘
Prison i.D. No. of the first piaintiff: "
Address of the first plaintiff: `; "

`i

 

Statu$ Of P|aintiff: CONV|CTED (__) PRETRIAL DETA|NEE (___)

2. Name of the second plaintiff:

 

Prison |.D. No. of the second piaintiff:

 

Address of the second plaintiff:

 

 

Status of Plaintiff: CONV|CTED (__) PRETR|AL DETA|NEE (_)

Revised 11/2014

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(Include the name of the institution and mailing address with zip code for each plaintiff. If
any plaintiff changes his or her address, he or she must notify the Court immediately. if there
are more than two plaintiffs, list their names, prison identification numbers, and addresses on
a separate sheet of paper. )

B. Defendant(s) against Whom this lawsuit is being brought

1. Name,of the first defendant . ` "i , ~ v , l
P|ace of employment of the first defendant `

\ :~ - l `~ .
' ' z

 

 

First defendant’s address:

 

 

Named in official capacity? _Yes No
Named in individual capacity? _Yes No

2. Name of the second defendant
P|ace of employment of the second defendant

 

 

 

 

Second defendant's address:

 

Named in official capacity? ___Yes No

Named in individual capacity? _Yes _No
(lf there are more than two defendants against Whom you are bringing this Iawsuit, you must
list on a separate sheet of paper the name of each additional defendant, his or her place of
employment, address, and the capacity in which you are suing that defendant If you do not
provide the names of such additional defendants, they will not be included in your Iawsuit. If
you do not provide each defendant's proper name, place of employment, and address, the
Clerk will be unable to serve that defendant should process issue.)

ll. JURlSD|CT|ON

A. Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners).
Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a)(3).

|f you Wish to assert jurisdiction under different or additional statutes, you may list
them below:

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|l|. PREV|OUS LAWSUITS (The following information must be provided by each plaintiff.)

A.

Have you or any of the other plaintiffs in this lawsuit filed any other |awsuit(s) in the
United States District Court for the l\/|iddle District of Tennessee, or in any other
federal or state court? Yes ` ~~No

lf you checked the box marked ”Yes" above, provide the following information:

1. Parties to the previous lawsuit ,

\Plaintiffs

 

 

Defendants

 

 

2i ln what court did you file the previous lawsuit?

 

 

(lf you filed the lawsuit in federal court, provide the name of the District. lf you
filed the lawsuit in state court, provide the name of the state and the county.)

3. What was the case number of the previous lawsuit?

 

4. What was the Judge's name to whom the case was assigned?

 

5. What type of case was it (for example, habeas corpus or civil rights action)?

 

6. When did you file the previous lawsuit? (Provide the year, if you do not know
the exact date.)

 

7. What was the result of the previous lawsuit? For example, was the case
dismissed or appealed, or is it still pending?

 

 

8. When was the previous lawsuit decided by the court? (Provide the year, if you
do not know the exact date.)

 

9. Did the circumstances of the prior lawsuit involve the same facts or
circumstances that you are alleging in this lawsuit? _Yes ___No

(If you have filed more than one prior lawsuit, list the additional Iawsuit(s) on a

separate sheet of paper, and provide the same information for the additional

Iawsuit(s).)

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EXHAUST|ON

A.

l-\re the facts of your lawsuit related to your present confinement?

" = Yes No

|f you checked the box marked ”No” in question ||l.B above, provide the name and
address of the prison orjail to which the facts of this lawsuit pertain.

 

 

__

Do the facts of your lawsuit relate to your confinement in a Tennessee state prison?

Yes ` . No

_ 4_

(If you checked the box marked ”No,” proceed to question Il/. G. if you checked the
box marked ”Yes,” proceed to question ll/.D.)

Have you presented these facts to the prison authorities through the state
grievance procedure? _Yes __No

lf you checked the box marked "Yes" in question lll.D above:

1. What steps did you tal<e?

 

 

2. What was the response of prison authorities?

 

 

 

|f you checked the box marked ”No” in question lV.D above, explain why not.

 

 

 

Do the facts of your lawsuit pertain to your confinement in a detention facility
operated by city or county law enforcement agencies (for example, city or county
jai|, ‘workhouse, etc.)? _Yes __No

lf "Yes" to the question above, have you presented these facts to the authorities
who operate the detention facility? ___Yes No

|f you checked the_ box marked "Yes" in question lll.H above:

1. What steps did you take?

 

 

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2. What was the response of the authorities who run the detention facility?

 

 

l. lf you checked the box marked ”No” in question |V.H above, explain why not.

 

 

 

V. CAUSE O`F ACT|ON

Briefly explain which of your constitutional rights were violated:

 

 

 

Vl. STATElVlENT OF FACTS

State the relevant facts of your case as briefly as possible include the dates when the incidents
or events occurred, where they occurred, and how each defendant was involved. Be sure to _,
include the names of other persons involved and the dates and places of their involvement

lf you set forth more than one claim, number each claim separately and set forth each claim in a
separate paragraph. Attach additional sheets, if necessary. Use 8 Vz inch x 11 inch paper, Write
On one side on|y, and leave a 1-inch margin on all 4 sides.

 

 

 

fll_` ll

 

 

 

 

 

 

 

 

 

 

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Vii. RELlEF REQUESTED: State exactly what you want the Court to order each defendant to
do for you.

 

 

 

 

 

 

 

l request a jury trial. ¥Yes No

Vl|l. CERT|FICATlON

l (we) certify under the penalty of perjury that the foregoing complaint is true to the best of my
(our) information, knowledge and beiief.

Signature: ‘ Date:
Prison ld. No. '
Address (lnclude the city, state and zip code.):

 

 

 

Signature: ~ Date:
Prison |d. No. `
Address (lnclude the city, state and zip code.):

 

 

 

 

ALL PLA|NTlFFS lVlUST SlGN AND DATE THE CO|VlPLAlNT, and provide the information
requested above. if there are more than two plaintiffs, attach a separate sheet of paper with
their signatures, dates, prison identification numbers, and addresses

ALL PLAINT|FFS MUST CO|VlPLETE, SlGN, AND DATE SEPARATE APPLlCATlONS TO PROCEED iN
DlSTRlCT COURT WlTHOUT PREPAY|NG FEES OR COSTS, if not paying the civil filing fee.

SUBIVl!T THE CO|VlPLAlNT AND (1) THE REQU|RED FlLlNG FEE OR (2) CO|VlPLETED APPLlCATlON
TO PROCEED iN DlSTRlCT COURT WlTHOUT PREPAY|NG FEES AND COSTS TOGETHER.
Complaints received without the required filing fee or application to proceed without
prepayment of. fees will be returned Filing fees and applications to proceed without
prepayment of fees submitted without a complaint will be returned.

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